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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 WILMER CUTLER PICKERING HALE
 AND DORR LLP,
                                Plaintiff,                             Case No. 1:25-cv-917

                v.                                                     Judge Richard J. Leon

                                                                       ORAL HEARING
 EXECUTIVE OFFICE OF THE                                             REQUESTED AND SET
 PRESIDENT, et al.,                                                   FOR APRIL 23, 2025


                                Defendants.


                     PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

       Pursuant to Federal Rule of Civil Procedure 56 and Local Civil Rule 7, Plaintiff Wilmer

Cutler Pickering Hale and Dorr LLP (“WilmerHale” or the “Firm”) moves for summary judgment

on all counts of its complaint, Dkt.1.

       WilmerHale respectfully requests a declaratory judgment that Executive Order 14250,

entitled Addressing Risks From WilmerHale and issued by the President on March 27, 2025

(“Order”), is facially unconstitutional, and a permanent injunction stating that:

       (1)     Defendants are enjoined from implementing or giving effect to the Order in any

               way, including by relying on any of the statements in Section 1;

       (2)     Defendants are directed to immediately issue guidance to their officers, staff,

               employees, and contractors, instructing them to disregard the Order and carry on

               with their ordinary course of business as if the Order had never issued;

       (3)     Defendant United States Department of Justice is directed to immediately issue

               guidance to all other agencies subject to the Order, instructing them to disregard
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                the Order and carry on with their ordinary course of business as if the Order had

                never issued; and

       (4)      Defendants are directed to take, in good faith, any other steps that are necessary to

                prevent the implementation or enforcement of the Order.

       The grounds for this motion are set forth in the attached memorandum of law and its

supporting declarations and exhibits.

April 8, 2025                                         Respectfully submitted,

                                                      /s/ Paul D. Clement_________
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